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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL NO.: 2179
“DEEPWATER HORIZON”
SECTION: J
THIS DOCUMENT RELATES TO:
JUDGE BARBIER

CASE NO.:2:10-cv-08888; 2:10-cv-02771
MAG. JUDGE SHUSHAN

ORDER

Considering the above and foregoing Final Motion of Dismissal; with Prejudice,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all matters in
this controversy filed by Tracy Patterson, Doc. No.: 40851, against any party including,
but not limited to, all British Petroleum entities, all Trans Ocean entities, and all other
Defendants listed on the Attachment A to the Gulf Coast Claims Facility Release and
Covenant Not To Sue, be and hereby dismissed in their entirety with full prejudice, each
party to bear their own costs.

Signed in New Orleans, Louisiana this day of , 2011.

Honorable Carl J. Barbier
UNITED STATES DISTRICT JUDGE
